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                              Case 1:22-cr-00644-JSR Document 100 Filed 01/12/24 Page 1 of 7
    AO 2458 (Rev. 09/19)   Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                           Sheet 1



                                              UNITED STATES DISTRJCT COURT
                                                             Southern District of New York
                                                                                   )
                  UNITED STATES OF AMERICA                                         )       JUDGMENT IN A CRIMINAL CASE
                             v.                                                    )
                              Steven Perez                                         )
                                                                                           Case Number: S1 22 CR 644-002 (JSR)
                             a/k/a "Lucha El"                                      )
                                                                                   )       USM Number: 34959-510
                                                                                   )
                                                                                   )        Zawadi S . Baharanyi, Esq.
                                                                                   )       Defendant's Attorney
    THE DEFENDANT:
    D pleaded guilty to count(s)
    D pleaded nolo contendere to count(s)
       which was accepted by the court.
    Ill was found guilty on count(s)           1 and 2
                                            ---'----=--'-=--'=----- - - - - -- - -- -- - -- - - - - -- - - -- -- - - - -
       a ft er a plea ofnot guilty.

    The defendant is adjudicated guilty of these offenses:

    Title & Section                   Nature of Offense                                                                Offense Ended            Count

    18 U.S.C. 371                     Conspiracy-Receive Firearms Outside States of Residency                          7/30/2021            1

    18 U.S.C. 922 (a)3                 Interstate Transport of Firearms                                                6/23/2021            2



           The defendant is sentenced as provided in pages 2 through              _ _ 7__ of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
    D The defendant has been found not guilty on count(s)
    ~ Count(s)        of the underlying indictment            □ is        ~ are dismissed on the motion of the United States.

             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
    the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                      1/8/2024
                                                                                  Date of Imposition of Judgment



                                                                                  Sigaatm,;l!          J     q
                                                                                                             Hon. Jed S . Rakoff U.S.D.J.
                                                                                  Name and Title of Judge




                                                                                  Date
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                               Case 1:22-cr-00644-JSR Document 100 Filed 01/12/24 Page 2 of 7
    AO 2458 (Rev. 09/ 19) Judgment in Criminal Case
                           Sheet 2 - Imprisonment

                                                                                                       Judgment - Page   -~2~_ of   7
     DEFENDANT: Steven Perez a/k/a "Lucha El"
     CASE NUMBER: S1 22 CR 644-002 (JSR)

                                                               IMPRISONMENT

               The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
     total term of:
           On count 1: Sixteen (16) months jail, concurrent to the sentence imposed on count 2.
           On count 2: Sixteen (16) months jail, concurrent to the sentence imposed on count 1.




           !ti The court makes the following recommendations to the Bureau of Prisons:
                Incarceration as close to the New York metropolitan area as possible.




           liZl The defendant is remanded to the custody of the United States Marshal.

           D The defendant shall surrender to the United States Marshal for this district:
               D at      - - -- - - - - - -
                                                      D a.m.      D p.m.       on

               D as notified by the United States Marshal.

           D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               D before 2 p.m. on
               D as notified by the United States Marshal.
                D as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
     I have executed this judgment as follows :




                Defendant delivered on                                                       to

      at                                               , with a certified copy of this judgment.
           - -- - - - - - - - - - - - -

                                                                                                      UNITED STATES MARSHAL


                                                                              By
                                                                                                   DEPUTY UNlTED STATES MARSHAL
(3 of 7), Page 3 of 7                 Case: 24-162, 01/17/2024, DktEntry: 2.1, Page 3 of 7
                              Case 1:22-cr-00644-JSR Document 100 Filed 01/12/24 Page 3 of 7
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 3 - Supervised Release
                                                                                                          Judgment-Page     3     of _ _..;_7_ _
    DEFENDANT: Steven Perez a/k/a "Lucha El"
    CASE NUMBER: S1 22 CR 644-002 (JSR)
                                                          SUPERVISED RELEASE
    Upon release from imprisonment, you will be on supervised release for a term of:

     On count 1: Three (3) years.
     On count 2: Three (3) years, all terms on all counts to run concurrent to each other.




                                                         MANDATORY CONDITIONS
    1.    You must not commit another federal, state or local crime.
    2.    You must not unlawfully possess a controlled substance.
    3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
          imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                     substance abuse. (check if applicable)
    4.    D You must make restitution in accordance with 18 U.S .C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution. (check if applicable)
    5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
    6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
     7.    D You must participate in an approved program for domestic violence. (check if applicable)
     You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
     page.
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     AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                            Sheet 3A - Supervised Release
                                                                                                   Judgment-Page   -
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                                                                                                                       ---- 0
                                                                                                                                  r - - - - 1' - - - -
     DEFENDANT: Steven Perez a/k/a "Lucha El"
     CASE NUMBER: S1 22 CR 644-002 (JSR)

                                            STANDARD CONDITIONS OF SUPERVISION
     As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
     because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
     officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
          release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
     2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed.
     3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
          court or the probation officer.
     4. You must answer truthfully the questions asked by your probation officer.
     5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
          the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
     6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
          take any items prohibited by the conditions of your supervision that he or she observes in plain view.
     7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
          days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
          aware of a change or expected change.
     8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
     9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
     10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
          designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
     11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
     12. You must follow the instructions of the probation officer related to the conditions of supervision.




     U.S. Probation Office Use Only
     A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
     judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
     Release Conditions, available at: www.uscourts.gov.


     Defendant's Signature                                                                                    Date _ __ _ _ _ _ _ _ _ __
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                           Judgment in a Criminal Case
                           Sheet 3D - Supervised Release
                                                                                         Judgment-Page   5   of - ~7_ _
    DEFENDANT: Steven Perez a/k/a "Lucha El"
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                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The Court recommends the defendant be supervised in his district of residence.
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                              Case 1:22-cr-00644-JSR Document 100 Filed 01/12/24 Page 6 of 7
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment- Page   ---'6"--- of      7
    DEFENDANT: Steven Perez a/k/a "Lucha El"
    CASE NUMBER: S1 22 CR 644-002 (JSR)
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment               Restitution               Fine                    AVAA Assessment*            JVTA Assessment**
    TOTALS           $    200.00               $                         $                       $                           $



    D The determination of restitution is deferred until _ __ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
         entered after such determination.

    D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the ~e(endant makes a partial payment, each payee shall receive an approximately proportioned payment, unless sp~ci_fied otherwise in
         the pnoncy or~er or perc!lntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal v1ct1ms must be paid
         before the Umted States 1s paid.

    Name of Payee                                                    Total Loss***               Restitution Ordered        Priority or Percentage




     TOTALS                                             0.00
                                         $ - - - -- - - -                            $                     0.00
                                                          --                             - - - -- - - - --

     D     Restitution amount ordered pursuant to plea agreement $
                                                                              - - - -- - -- - -
     D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
           fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
           to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           D the interest requirement is waived for the              D fine     D restitution.
           D the interest requirement for the           D     fine     D restitution is modified as follows:

     * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
     ** Justice for Victims or Trafficking Act ot2015, Pub. L. No. 114-22.
     *** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
     or after September 13, 1994, but before April 23, 1996.
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   AO 245B (Rev. 09/19)
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                          Judgment in a Criminal Case
                          Sheet 6 - Schedule of Payments

                                                                                                               Judgment -   Page   7    of
    DEFENDANT: Steven Perez a/k/a "Lucha El"
    CASE NUMBER: S1 22 CR 644-002 (JSR)

                                                           SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

    A     ~    Lump sum payment of$           200.00                   due immediately, balance due


               □     not later than                                        , or
               □     in accordance with
                                             □   C,
                                                           □   D,
                                                                       □    E, or     D F below; or
    B     □ Payment to begin immediately (may be combined with                      □ c,     OD,or      D F below); or
    C     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                               (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

    D     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ __ over a period of
                               (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

    F     D Special instructions regarding the payment of criminal monetary penalties:




    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    the period of imprisonment. All criminal monetary penarties, except those payments made through the Federal Bureau of Prisons' Inmate
    Financial Responsibility Program, are made to the clerk of the court.

     The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     D    Joint and Several

          Case Number                                                                                                         Corresponding Payee,
          Defendant and Co-Defendant Names                                                     Joint and Several
          (including defendant number)                              Total Amount                    Amount                        if appropriate




     D     The defendant shall pay the cost of prosecution.

     D     The defendant shall pay the following court cost(s):

     0     The defendant shall forfeit the defendant's interest in the following property to the United States:
            pursuant to 18 U.S.C. § 924(d)(I), and 28 U.S.C. § 2461 (c), any and all firearms and ammunition involved in or used in
           said offense.

     Payments shall be aJ:>plied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
     (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
     prosecution and court costs.
